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                   United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                       TEL. 504-310-7700
CLERK                                                            600 S. MAESTRI PLACE,
                                                                         Suite 115
                                                                NEW ORLEANS, LA 70130

                            November 01, 2024

#94807-079
Mr. Mariano Benjamin Gutierrez-Munoz
FCI Victorville Medium II
P.O. Box 3850
Adelanto, CA 92301-0000

      No. 24-40708       USA v. Gutierrez-Munoz
                         USDC No. 7:22-CV-428


Dear Mr. Gutierrez-Munoz,

We have docketed your appeal. You should use the number listed
above on all future correspondence.
You should carefully read the following sections
Filings in this court are governed strictly by the Federal Rules
of Appellate Procedure, NOT the Federal Rules of Civil Procedure.
We cannot accept motions submitted under the Federal Rules of Civil
Procedure. We can address only those documents the court directs
you to file, or motions filed under the Fed. R. App. P. in support
of the appeal. See Fed. R. App. P. and 5th Cir. R. 27 for guidance.
Documents not authorized by these rules will not be acknowledged
or acted upon.
Court Fees
You must pay a filing fee for your notice of appeal unless the
district court has entered an order exempting you from paying the
fee under Fed. R. App. P. 24.       The $605.00 Court of Appeals
docketing fee is due within 15 days from this date, and you must
notify this office once this is done. If you do not pay the filing
fee, or file a motion with the district court clerk for leave to
proceed in forma pauperis on appeal, we will dismiss your appeal
without further notice, see 5th Cir. R. 42.3.
ATTENTION ATTORNEYS: Attorneys are required to be a member of the
Fifth Circuit Bar and to register for Electronic Case Filing. The
"Application and Oath for Admission" form can be printed or
downloaded from the Fifth Circuit’s website, www.ca5.uscourts.gov.
Information   on   Electronic   Case   Filing   is  available   at
www.ca5.uscourts.gov/cmecf/.
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Brief Template: The clerk’s office offers brief templates and the
ability to check the brief for potential deficiencies prior to
docketing to assist in the preparation of the brief. To access
these options, log in to CM/ECF and from the Utilities menu, select
‘Brief Template’ (Counsel Only) or ‘PDF Check Document’.
We recommend that you visit the Fifth Circuit’s website,
www.ca5.uscourts.gov and review material that will assist you
during the appeal process. We especially call to your attention
the Practitioner’s Guide and the 5th Circuit Appeal Flow Chart,
located in the Forms, Fees, and Guides tab.
Special guidance regarding filing certain documents:
General Order No. 2021-1, dated January 15, 2021, requires parties
to file in paper highly sensitive documents (HSD) that would
ordinarily be filed under seal in CM/ECF. This includes documents
likely to be of interest to the intelligence service of a foreign
government and whose use or disclosure by a hostile foreign
government would likely cause significant harm to the United States
or its interests. Before uploading any matter as a sealed filing,
ensure it has not been designated as HSD by a district court and
does not qualify as HSD under General Order No. 2021-1.
A party seeking to designate a document as highly sensitive in the
first instance or to change its designation as HSD must do so by
motion. Parties are required to contact the Clerk’s office for
guidance before filing such motions.
Sealing Documents on Appeal: Our court has a strong presumption
of public access to our court’s records, and the court scrutinizes
any request by a party to seal pleadings, record excerpts, or other
documents on our court docket.     Counsel moving to seal matters
must explain in particularity the necessity for sealing in our
court. Counsel do not satisfy this burden by simply stating that
the originating court sealed the matter, as the circumstances that
justified sealing in the originating court may have changed or may
not apply in an appellate proceeding.     It is the obligation of
counsel to justify a request to file under seal, just as it is
their obligation to notify the court whenever sealing is no longer
necessary.    An unopposed motion to seal does not obviate a
counsel’s obligation to justify the motion to seal.


                                Sincerely,
                                LYLE W. CAYCE, Clerk




                                By: _________________________
                                Angelique B. Tardie, Deputy Clerk
                                504-310-7715
cc:
      Ms. Carmen Castillo Mitchell
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Mr. Nathan Ochsner
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Provided below is the court’s official caption. Please review the
parties listed and advise the court immediately of any
discrepancies. If you are required to file an appearance form, a
complete list of the parties should be listed on the form exactly
as they are listed on the caption.

                                _________

                          Case No. 24-40708
                                _________

United States of America,
                       Plaintiff - Appellee
v.
Mariano Benjamin Gutierrez-Munoz,
                       Defendant - Appellant
